Case 1:21-cv-00416-TSE-IDD Document 1-2 Filed 04/02/21 Page 1 of 9 PageID# 14




                          Exhibit A
Case 1:21-cv-00416-TSE-IDD
            Case 20-13157-JTD
                            Document
                               Doc 397
                                     1-2 Filed
                                          Filed03/12/21
                                                04/02/21 Page
                                                         Page12of
                                                               of29 PageID# 15




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                 Chapter 11

    PBS BRAND CO., LLC, et al.,                            Case No. 20-13157-JTD

                                     Debtors.1             (Jointly Administered)


               ORDER APPROVING STIPULATION GRANTING COLIN BROWN
                    LIMITED RELIEF FROM THE AUTOMATIC STAY

             Upon consideration of the Stipulation Granting Colin Brown Limited Relief from the

Automatic Stay (the “Stipulation”)2, entered into by and among Colin Brown, on the one hand,

and the Debtors, on the other hand, a copy of which is attached hereto as Exhibit 1, and the

related Certification of Counsel Regarding Proposed Order Approving Stipulation Granting

Colin Brown Limited Relief From the Automatic Stay; and having determined that this Court has

jurisdiction to enter this Order in accordance with 28 U.S.C. §§ 157 and 1334, the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012; and having determined that due and appropriate notice of the relief

provided for herein has been given under the circumstances; and the Court having determined

that the agreements set forth in the Stipulation are in the best interests of the Debtors, their


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number are (1) PBS Brand Co., LLC, a Delaware limited liability company (7897), (2) Punch Bowl Social, Inc., a
Delaware corporation (9826), (3) Punch Bowl Arlington, LLC, a Delaware limited liability company (7250), (4)
Punch Bowl Atlanta Battery, LLC, a Delaware limited liability company (8973), (5) Punch Bowl Austin, LLC, a
Delaware limited liability company (0366), (6) Punch Bowl Chicago West Loop, LLC, a Delaware limited liability
company (4024), (7) Punch Bowl Cleveland, LLC, a Delaware limited liability company (8583), (8) Punch Bowl
Dallas Deep Ellum, LLC, a Delaware limited liability company (8239), (9) Punch Bowl, LLC, a Colorado limited
liability company (2287), (10) Punch Bowl Indianapolis, LLC, a Delaware limited liability company (0144), (11)
Punch Bowl Minneapolis, LLC, a Delaware limited liability company (9815), (12) Punch Bowl Sacramento, LLC, a
Delaware limited liability company (8092), (13) Punch Bowl SanDiego, LLC, a Delaware limited liability company
(6440), (14) Punch Bowl Austin Congress, LLC a Delaware limited liability company (0964), and (15) Punch Bowl
Ranchocucamonga, LLC, a Delaware limited liability company (6646).
2
   Capitalized terms used but not otherwise defined herein shall have the meanings given to such terms in the
Stipulation.



12750532/1
Case 1:21-cv-00416-TSE-IDD
            Case 20-13157-JTD
                            Document
                               Doc 397
                                     1-2 Filed
                                          Filed03/12/21
                                                04/02/21 Page
                                                         Page23of
                                                               of29 PageID# 16




estates, their creditors and other parties in interest; and good and sufficient cause appearing

therefor, IT IS HEREBY ORDERED THAT:

       1.      The Stipulation attached to this Order as Exhibit 1 is hereby APPROVED.

       2.      The Automatic Stay is hereby modified solely to the extent set forth in the

Stipulation. Except as set forth in the Stipulation, the Automatic Stay shall remain in full force

and effect.

       3.      This Court shall retain jurisdiction to resolve any disputes arising from or related

to this Order or the Stipulation.

       4.      This Order and the Stipulation shall become effective immediately upon entry of

this Order notwithstanding anything in the Federal Rules of Bankruptcy Procedure or otherwise

to the contrary.




        Dated: March 12th, 2021                          JOHN T. DORSEY
        Wilmington, Delaware                             UNITED STATES BANKRUPTCY JUDGE
Case 1:21-cv-00416-TSE-IDD
           Case 20-13157-JTDDocument
                              Doc 397-1
                                     1-2 Filed 03/12/21
                                               04/02/21 Page
                                                        Page 41 of
                                                                of 96 PageID# 17




                                  EXHIBIT 1

                                   Stipulation




12750532/1
Case 1:21-cv-00416-TSE-IDD
           Case 20-13157-JTDDocument
                              Doc 397-1
                                     1-2 Filed 03/12/21
                                               04/02/21 Page
                                                        Page 52 of
                                                                of 96 PageID# 18




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                 Chapter 11

    PBS BRAND CO., LLC, et al.,                            Case No. 20-13157-JTD

                                     Debtors.1             (Jointly Administered)


                           STIPULATION GRANTING COLIN BROWN
                        LIMITED RELIEF FROM THE AUTOMATIC STAY

             The above-captioned debtors and debtors in possession (the “Debtors”), and Colin Brown

(the “Movant” and together with the Debtors, the “Parties”), through their undersigned counsel,

hereby enter into this stipulation (the “Stipulation”) as follows:

             WHEREAS on December 21, 2020 all of the Debtors except for Punch Bowl Austin

Congress, LLC and Punch Bowl Ranchocucamonga, LLC, and on December 31, 2020, Punch

Bowl Austin Congress, LLC and Punch Bowl Ranchocucamonga, LLC (the “Austin Congress

and Ranchocucamonga Debtors” and together with the Original Debtors, the “Debtors”) filed

their respective voluntary petitions for relief under Chapter 11 of the Bankruptcy Code (the

“Petition Date”)        in the United States Bankruptcy Court for the District of Delaware (the

“Court”) (together, the “Chapter 11 Cases”);




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number are (1) PBS Brand Co., LLC, a Delaware limited liability company (7897), (2) Punch Bowl Social, Inc., a
Delaware corporation (9826), (3) Punch Bowl Arlington, LLC, a Delaware limited liability company (7250), (4)
Punch Bowl Atlanta Battery, LLC, a Delaware limited liability company (8973), (5) Punch Bowl Austin, LLC, a
Delaware limited liability company (0366), (6) Punch Bowl Chicago West Loop, LLC, a Delaware limited liability
company (4024), (7) Punch Bowl Cleveland, LLC, a Delaware limited liability company (8583), (8) Punch Bowl
Dallas Deep Ellum, LLC, a Delaware limited liability company (8239), (9) Punch Bowl, LLC, a Colorado limited
liability company (2287), (10) Punch Bowl Indianapolis, LLC, a Delaware limited liability company (0144), (11)
Punch Bowl Minneapolis, LLC, a Delaware limited liability company (9815), (12) Punch Bowl Sacramento, LLC, a
Delaware limited liability company (8092), (13) Punch Bowl SanDiego, LLC, a Delaware limited liability company
(6440), (14) Punch Bowl Austin Congress, LLC a Delaware limited liability company (0964), and (15) Punch Bowl
Ranchocucamonga, LLC, a Delaware limited liability company (6646).



12750532/1
Case 1:21-cv-00416-TSE-IDD
           Case 20-13157-JTDDocument
                              Doc 397-1
                                     1-2 Filed 03/12/21
                                               04/02/21 Page
                                                        Page 63 of
                                                                of 96 PageID# 19




         WHEREAS on February 16, 2021, Colin Brown (the “Movant”) filed his Motion for

Relief From the Automatic Stay Pursuant to 11 U.S.C. § 362(D) [Docket No. 298] seeking

limited relief from the automatic stay so that Movant may commence and pursue prosecution of

an employment discrimination and wrongful termination claim (the “Civil Action”) to be

pursued in Virginia against one or more of the Debtors and possibly third-parties;

         WHEREAS, upon the filing of the Debtors’ chapter 11 petitions, the automatic stay (the

“Automatic Stay”) of section 362 of the Bankruptcy Code came into effect and stayed certain

actions against the Debtors, including the ability of Movant to pursue his Civil Action;

         WHEREAS, the Parties informally communicated and reached an agreement where

Debtors would consent to the Bankruptcy Court’s entry of an order modifying the Automatic

Stay to permit Movant to pursue the Civil Action and seek any satisfaction therefrom solely from

any insurance proceeds (“Insurance Proceeds”) available under any of the Debtors’ applicable

insurance policies (an “Insurance Policy”);

         WHEREAS, the Debtors have agreed to the modification of the Automatic Stay to enable

the Movant to pursue the Civil Action and to seek any recovery on account of the Civil Action

against the Debtors solely from any Insurance Proceeds, solely to the extent provided herein; and

         WHEREAS, through their counsel, the Parties have conferred and engaged in

negotiations with respect to the modification of the automatic stay and have resolved, as

provided for herein, the issues raised by such request without the need for further motion

practice.

         NOW, THEREFORE, IN CONSIDERATION OF THE FOREGOING PREMISES,

THE MUTUAL COVENANTS HEREIN CONTAINED, AND FOR GOOD AND

VALUABLE CONSIDERATION, THE RECEIPT AND SUFFICIENCY OF WHICH IS



                                                2
12750532/1
Case 1:21-cv-00416-TSE-IDD
           Case 20-13157-JTDDocument
                              Doc 397-1
                                     1-2 Filed 03/12/21
                                               04/02/21 Page
                                                        Page 74 of
                                                                of 96 PageID# 20




ACKNOWLEDGED BY ALL PARTIES, THE PARTIES HERETO AGREE TO THE

FOLLOWING TERMS, SUBJECT TO THE APPROVAL OF THE BANKRUPTCY

COURT:

          1.   The automatic stay is modified solely to the extent necessary to permit the

Movant to commence and pursue the Civil Action and access any Insurance Proceeds in relation

to any recovery therefrom.

          2.   The Debtors make no representation as to the existence or availability of any

insurance coverage or insurance policies, the amount of coverage, or the likelihood of recovery

against any such insurance policies, if any.

          3.   Any all proofs of claim filed or to be filed by Movant in these Chapter 11 Cases

relating to the Civil Action are and will be expunged, and Movant shall not be entitled to receive

any distributions from any of the Debtors, their estates, or their successors in their Chapter 11

Cases, under any plan of reorganization, or otherwise on account of or related to the Civil

Action.

          4.   Movant agrees to waive any argument that the Debtors, their estates, or their

successors shall be required to pay or otherwise satisfy:       (a) any self-insured retention or

deductible liability; (b) any obligation to post any security or deposit with an insurer pursuant to

the terms of any insurance policy; (c) any defense costs; (d) any judgment above the applicable

insurance coverage; or (e) any other costs of any kind, including, without limitation, any claims

by insurance companies against the Debtors, their estates, or their successors related to the Civil

Action or any claims related thereto (collectively, the “Administrative Costs”).



          5.   Nothing in this Stipulation will limit Movant’s rights as to any non-Debtor.



                                                 3
12750532/1
Case 1:21-cv-00416-TSE-IDD
           Case 20-13157-JTDDocument
                              Doc 397-1
                                     1-2 Filed 03/12/21
                                               04/02/21 Page
                                                        Page 85 of
                                                                of 96 PageID# 21




         6.    This Stipulation shall not become effective unless and until it is approved and

entered by the Court.

         7.    By entering into this Stipulation and Order, the Debtors are not waiving any

defenses at law or in equity, including as to the Civil Action or any claims related thereto.

         8.    Neither the Stipulation and Order nor any negotiations and writings in connection

with this Stipulation and Order shall in any way be construed as or deemed to be evidence of an

admission on behalf of any Party regarding any, without limitation, claim, counterclaim, cause of

action, right, and defense that such Party may have against the other Party.

         9.    This Stipulation and Order shall be binding on and inure to the benefit of the

Parties hereto and their respective successors and assigns.

         10.   This Stipulation and Order shall not be modified, altered, amended, or vacated

without written consent of all Parties hereto. Any such modification, alteration, amendment, or

vacation in whole or in part, shall be subject to the approval of the Court.

         11.   This Stipulation and Order contains the entire agreement by and between the

Debtors and Movant with respect to the subject matter hereof, and all prior understandings or

agreements, if any, are merged into this Stipulation and Order.

         12.   Each of the undersigned counsel represents that she or he is authorized to execute

this Stipulation and Order on behalf of her or his respective client.

         13.   This Stipulation and Order may be executed in multiple counterparts, any of

which may be transmitted by facsimile or electronic mail, and each of which shall be deemed an

original, but all of which together shall constitute one instrument.

         14.   The Debtors are authorized to take all actions necessary to effectuate the relief

provided by this Stipulation and Order.



                                                  4
12750532/1
Case 1:21-cv-00416-TSE-IDD
           Case 20-13157-JTDDocument
                              Doc 397-1
                                     1-2 Filed 03/12/21
                                               04/02/21 Page
                                                        Page 96 of
                                                                of 96 PageID# 22




         15.   The terms and conditions of this Stipulation and Order shall be immediately

effective and enforceable upon its entry.

         16.   The Court retains jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation, and enforcement of this Stipulation and Order.

STIPULATED and AGREED to this 12th day of March 2021.


/s/ Christopher D. Loizides________              /s/ Sarah M. Ennis
Christopher D. Loizides (No. 3968)               Jeffrey R. Waxman (DE Bar No. 4159)
LOIZIDES, P.A.                                   Eric J. Monzo (DE Bar No. 5214)
1225 King Street, Suite 800                      Brya M. Keilson (DE Bar No. 4643)
Wilmington, DE 19801                             Sarah M. Ennis (DE Bar No. 5745)
Telephone: (302) 654-0248                        MORRIS JAMES LLP
Facsimile: (302) 654-0728                        500 Delaware Avenue, Suite 1500
E-mail: loizides@loizides.com                    Wilmington, DE 19801
                                                 Telephone: (302) 888-6800
Counsel for Colin Brown                          E-mail: jwaxman@morrisjames.com
                                                 E-mail: emonzo@morrisjames.com
                                                 E-mail: bkeilson@morrisjames.com
                                                 E-mail: sennis@morrisjames.com

                                                 Counsel to the Debtors and Debtors in
                                                 Possession




                                                5
12750532/1
